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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO. 18-62138-CIV-DIMITROULEAS

  DANIEL MITTELMARK
  individually and on behalf of all
  others similarly situated,

         Plaintiff,

  vs.

  THE YOGA JOINT SOUTH, LLC, and
  YOGA JOINT-DEERFIELD, LLC,

        Defendants.
  ___________________________________/



                                      ORDER OF DISMISSAL

         THIS CAUSE is before the Court on the Joint Stipulation of Dismissal With Prejudice

  [DE 32] (the “Stipulation”), filed herein on March 18, 2019. The Court has carefully considered

  the Stipulation, and is otherwise fully advised in the premises.


         Accordingly, it is ORDERED AND ADJUDGED as follows:


             1. The Stipulation [DE 32] is hereby APPROVED;

             2. This case is DISMISSED WITH PREJUDICE;

             3. The Clerk is directed to CLOSE this case and DENY any pending motions as

                 moot.

         DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida this

  18th day of March, 2019.
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  Copies furnished to:


  Counsel of record
